

People v Robinson (2023 NY Slip Op 05206)





People v Robinson


2023 NY Slip Op 05206


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Ind No. 954/18 Appeal No. 751 Case No. 2021-2280 

[*1]The People of The State of New York, Respondent, 
vRaymond Robinson, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Gwendolyn Parrish of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kevin Arturo Peterson of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (James A. McCarty, Jr., J.), rendered May 10, 2021,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








